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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


             UNITED STATES OF AMERICA,
                                                        CRIMINAL CASE NO.
             v.
                                                        1:13-cr-382-01-JEC-LTW
             DAVID ROMERO-NIETO,


                  Defendant.

                                                ORDER

                   This case is before the Court on the Magistrate Judge’s Report

             and Recommendation [67] recommending accepting defendant’s plea of

             guilty tendered on March 24, 2014.      No objections to the Report and

             Recommendation [67] have been filed.

                   It is hereby Ordered that the Court ADOPTS the Magistrate

             Judge’s Report and Recommendation [67] and ACCEPTS the defendant’s

             plea of guilty as to Count One of the Indictment.

                   SO ORDERED, this 18th day of June, 2014.



                                              /s/ Julie E. Carnes
                                              JULIE E. CARNES
                                              CHIEF UNITED STATES DISTRICT JUDGE




AO 72A
(Rev.8/82)
